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                           UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                        MDL 2804
 OPIATE LITIGATION
                                                     Case No. 1:17-md-2804
 THIS DOCUMENT RELATES TO:
                                                     Judge Dan Aaron Polster
 Albertson’s Bellwether Cases
                                                     AGREED AMENDED CASE
                                                     MANAGEMENT ORDER FOR
                                                     ALBERTSONS BELLWETHER
                                                     TRACKS



       On June 10, 2024, the Court entered an Amended Case Management Order for Albertsons

Bellwether Tracks, Town of Hull v. AmerisourceBergen Drug Corp., et al., Case No. 1:19-op-

46172 (D. Mass., 1st Circuit) (“CT20”); and (2) County of Monterey v. Amerisourcebergen Drug

Corporation., et al., Case No. 1:18-op-45615 (N.D. Cal., 9th Circuit) (“CT21”). See Docket No.

5481. The parties have conferred and agreed to an extension of certain deadlines as follows:

       A.      Deadline to File Amended Complaints
        Pursuant to the Amended CMO, the Albertsons Bellwether Plaintiffs deadline to file and
serve Amended Complaints was 60 days of entry of the Order. The parties have agreed to extend
this deadline to September 9, 2024.
IT IS SO ORDERED.


August 8, 2024
                                                    s/Dan Aaron Polster
                                                    DAN AARON POLSTER
                                                    UNITED STATES DISTRICT JUDGE
